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Rakoczy, Kathryn (USADC)

From:                  Baset, Ahmed (USADC)
Sent:                  Tuesday, March 23, 2021 9:00 AM
To:                    Shelli Peterson
Cc:                    Rakoczy, Kathryn (USADC); Manzo, Louis (CRM); Nestler, Jeffrey (USADC); Edwards, Troy (USADC);
                       Hughes, Alexandra (NSD); Sher, Justin (NSD)
Subject:               Disclosures in US v. Jessica Watkins (20-cr-28)


Good morning, Shelli,

We are writing to flag a few additional facts pertinent to the investigation into Ms. Watkins’s conduct on January 6,
2021:

   In a slide show of photos published by the Washington Post, your client is depicted assisting a distressed person on
    slide        26:         https://www.washingtonpost.com/graphics/photography/2021/01/06/photos‐scene‐capitol‐
    dc/?itid=lk_readmore_manual_6.
   Two bomb making recipes were found in your client’s home during a residential search. The purported author was an
    individual named “Jolly Roger.” The Jolly Roger is the ghost author of various manuals and instructions on committing
    violent crimes, acts of destruction, and financial fraud. Among them, are recipes on “Making Plastic Explosives from
    Bleach,” and producing “Thermite,” a known pyrotechnic. The explosive‐making instructions located in your client’s
    home during the execution of the search warrant appear to be print outs of these two recipes from The Anarchist’s
    Cookbook                   2000,                  which               is               available               online:
    http://bnrg.cs.berkeley.edu/~randy/Courses/CS39K.S13/anarchistcookbook2000.pdf.
   An open source video published by Newsflare.com appears to depict Ms. Watkins and other Oath Keepers members
    among a crowd of rioters inside of the Capitol and involved in a confrontation with law enforcement officers. The 3:26
    minute video is accessible by visiting this link: https://www.liveleak.com/view?t=9ZobJ_1610107203. In addition, a
    0:09 second video published by the New York Times appears to capture a different vantage of this confrontation in
    which an individual resembling Ms. Watkins is yelling “push” and “get in there.” It is available at this link:
    https://twitter.com/trbrtc/status/1373035428157198337.

As always, feel free to reach us should you have any questions about the provided information.

Thank you,
Ahmed



Ahmed Baset
Assistant United States Attorney
Public Corruption & Civil Rights Section
U.S. Attorney’s Office for the District of Columbia
                (o)
                (c)




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